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Rey.1/05 EAC} 1
I@)PLAINTIFFS swe DEFENDANTS one SRERRUS OTST cour |
iF, O.1.C. as Receiver for Washington Mutual Bank; WAML Asset rAccontened Gis aif ae

iNew Orleans Employees' Retirement System and
‘Marta/ATU Lecal 732 Employees Retirement Plan

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN LS, PLAINTIFF CASES)

iCorp.; Washington Mutual Mortgage Securities Corp., WAMU Capital Corp.; '
rRichard Careaga; David Beck; Diane Novak; Thomas Green, ‘and Rolland Jurgens 5 :

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANE

{IN U.S, PLAINTIFF CASES ONLY) ———______—___.
NOTE: JN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
LAND INVOLVED i

 

‘Kipling Law Group P PLLC

2607 Fremont Ave. N,, Suite 414
‘Seattle, WA 98103

(206) 545-0345

 

ATTORNEYS (IF KNOWW)} |

‘Kar Talla Campbell (for FOIG as Recebver) I
11201 Thied Ave.. Suite 2900 \
'geatila, WA 98101
§(@08} 223-1313 I
"Davis Wright Tremaina [for a4 other dafandants} '
"4201 Third Ave,, Sulte 2200 I
Seattle, WA 98101 I
‘nay 757-8018 I

 

II. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

|
Il] CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX
FOR PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

© 1 U.S. Government O 3 Federal Question PTF DFT PTF DFT
Plaintiff (U8. Government Not a Pasty) Citizen of this State oO 1 oO “} Incorporated or Principal Place OQ 4 OQ 4
: of Business in This State I
2 US. Government 4 Diversity .
© Defendant © {Indicate Citizenship of Citizen of Another State oO 2 oO 2 Tncorpurated and Principal Place oO 5 Oo 5
vas ins of Business in Another State
Parties im item 11D . . O
Citizen or Subject of a © 3 3
Foreign Country Foreign Nation OQ «6 oO 6

 

 

FV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place a X in one category, A-N, that best represents your cause of action and one in a corresponding Nature of Suit)

 

© A. Antitrust | O B. Personal Injury/

Malpractice

© C. Administrative Agency
Review

[] 151 Medicare Act

Oo D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category may

 

[J] 410 Antitrust

[71 310 Airplane

[__] 315 Airpiane Product Liability
([] 320 Assault, Libel & Slander
[_] 330 Federal Employers Liability
LC] 340 Marine
CJ 345 Marine Product Liability
[_] 350 Motor Vehicle
355 Motor Vehicle Product Liability
340 Other Personal Injury
[J 362 Medical Malpractice
E71 365 Product Liability
[_] 368 Asbestos Product Liability

Social Security:

[_] 861 HIA (139951)

(.] 862 Black Long (923)

{_] 363 DIWC/DIWW (405(2)
[} 864 SSID Title XVI

(_] 365 RSI (405g)

Other Statutes

891 Agricultural Acts

892 Economic Stabilization Act
893 Environmental Matters
89d Energy Allocation Act

 

O00

 

850 Other Statutory Actious (If

Administrative Agency is Invalved)}

 

be selected for this category of case
assignment,

*(H Antitrust, then A governs)*

I
}
i
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t

 

© E. General Civil (Other)

OR

© F. Pro Se General Civil

 

Real Property
[_]210 Land Condemnation
(4220 Foreciosure
(j230 Rent, Lease & Ejectment
[3240 Torts to Land
[_J245 Tort Product Liability
[7290 All Other Real Property

Personal Property
(.J370 Other Fraud

{__]371 Truth in Lending
(__]380° Other Personal Property Damage
[4385 Property Damage Product Liability

 

 

Bankruptc:
CJ 422 Appeal 28 USC 158

£1) 423 Withdrawal 28 USC 157

Prisoner Petitions
535 Death Penalty
(1540 Mandamus & Other
C 7550 Civil Rights
[1555 Prison Condition

Property Rights
CJ 820 Copyrights
[__] 830 Patent
(C] 840 Trademark

Federal Tax Suits
[—] 870 Taxes (US plaintiff or
__Sefendant

arty 26

Forfeiture/Penalty

EJ} 610 Agriculture

[1620 Other Food &Drug

[_] 625 Drug Related Seizure
of Property 21 USC 881

EJ 630 Liquor Laws

(J 640 RR & Truck

[_.] 650 Airline Regs

[1660 Occupational
Safety/Health

(—] 690 Other

Other Statutes

(__] 400 State Reapportionment

[) 430 Banks & Banking

CL] 450 Commerce/ICC
Rates/etc.

[1] 466 Deportation

[-] 470 Racketeer Influenced &
Corrupt Organizations

{__]480 Consumer Credit

(1490 Cable/Satellite FV

((]310 Selective Service

Gg] 856 Securities/Commodities/

(873

Exchange
Customer Challenge 12 USC
3410
[1] 900 Appea} of fee determination
wader equal access to Justice
[_]9S0 Constitutionality of State
[] 890 Other Statutory Actions (if »
not administrative agency
review or Privacy Act

Statutes

 

 

 

09-CV-00134-CVSHT

 
Case 2:09-cv-00134-MJP Document 1-2 Filed 01/29/09 Page 2 of 2

 

© G. Habeas Corpus/
2255

[J 530 Habeas Corpus-General
[=] 510 Motign/Vacate Sentence

 

© H. Employment
Discrimination

[_] 442 Civil Rights-Employment
(criteria: race, gender/sex,
national origin,
discrimination, disability
age, religion, retaliation)

 

*(I1E pro se, select this deck)*

© I. FOIA/PRIVACY

ACT
[J 895 Freedom of Information Act

[_] 890 Other Statutory Actions
{if Privacy Act)

 

(If pro se, select this deck)*

© J. Student Lean

[7] 152 Recovery of Defaulted
Student Loans
(excluding veterans}

 

 

 

 

 

 

 

© K. Labor/ERISA © L, Other Civil Rights | OQ = M. Contract ON. Three-Judge Court
i
(non-employ ment) (non-employmeni) C=] 110 Insurance [] 441 Civil Rights-Voting
[_] 120 Marine (if Voting Rights Act}
EH 710 Fair Labor Standards Act [] 441 Voting (if not Voting Rights [__] 130 Miller Act
720 Labor/Mgmt. Relations Act) (] 140 Negotiable Instrument
CC) 730 Labor/Mgmé. Reporting & (1) 443 Housing/Accommodations L_] 150 Recovery of Overpayment &
Disclosure Act 444 Welfare Enforcement of Judgment
(7) 740 Labor Railway Act C7) 440 Other Civit Rights [7] 153 Recovery of Overpayment of
(__] 790 Other Labor Litigation (CD 445 American w/Disabilities- Veteran's Benefits
("] 791 Empl, Ret, Inc, Security Act Employment LJ] 160 Stockholer’s Suits
[_] 446 Americans w/Dsabiltities- [J 190 Other Contracts
Other [_] 195 Contract Product Liability
[] 196 Franchise |
V. ORIGIN | ‘
© 1Griginal © 2Removed © 3Remandedfrom ©) 4Reinstated © STransferred from ©) 6 Multidistrict (©) 7 Appeal to
Proceeding from State Appellate Court or Reopened another district Litigation District Judge
Court (specify) from Mag. Judge

 

 

Vif. REQUESTED IN
COMPLAINT

Vill. RELATED CASE(S)
IF ANY

pate January 29, 2009

CHECK IF THIS IS A CLASS

ACTION UNDER F.R.C.P. 23

(See instruction)

ves LX |

i

DEMAND § ‘no amount specified! Check YES only if demanded in complaint
| |

JURY DEMAND;

NO

 

VES NO

If yes, please complete retated case form.

Docket No. 2:09-cv-00037-MJP, Hon. Marsha J, Pechman

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

SIGNATURE OF ATTORNEY OF RECORD Ge q eA |

The JS-44 civil cover sheet and the information contained herein neither replaces nar supplements the filings and service of pleadings or other papers as required by
law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for tha use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequenily 9 civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. Listed below are tips.
for completing the civil cover sheet, These tips coincide with the Roman Numerals on the Cover Sheet.

I
L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff is resident of
Washington, D.C.; 88888 if plaintiff is resident of the United States but not of Washington, D.C., and 99999 if plaintiff is outside the United States.

CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was sclected as the Basis of Jurisdiction under Section

CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case Will depend on the category you select that best represents the

primary cause of action found in your complaint. You may select only one category. You must also select one corresponding nature of suit found under

TIE.
IL
IV,
the category of case.
VL
¥IIL

Office,

CAUSE GF ACTION Cite the US Civil Statute under which you are filing and write B brief statement of the primary cause. |

RELATED CASES, IF ANY: [f you indicated that there is a related case, you must complete a related case form, which may be obtained from the Clerk's

. '
Because of the need for accurate and complete information, you should ensure the accuracy of the information provided priar to signing the farm.
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